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FOUNDATION



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                  §      CASE NO. 14-32821-11
                                                        §
SEARS METHODIST RETIREMENT                              §      CHAPTER 11
SYSTEM, INC., ET AL.                                    §
                                                        §      JOINTLY ADMINISTERED
                      DEBTORS.                          §

    NOTICE OF AGREED UNDEVELOPED PROPERTIES SALE PROCEDURES

         PLEASE TAKE NOTICE that pursuant to the Findings of Fact, Conclusions of Law,

and Order Confirming Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code

(the “Confirmation Order”) [Docket No. 800],1 Texas Methodist Foundation (“TMF”) and Wells

Fargo Bank, N.A., as Trustee (the “Obligated Group Bond Trustee”) agreed to file no later than

March 19, 2015 agreed procedures that will govern the sale process for the Undeveloped

Properties under section 363 of the Bankruptcy Code (the “Agreed Undeveloped Properties Sale

Procedures”).

1
         Capitalized terms used but not defined herein have the meanings assigned to such terms in the
         Confirmation Order.

                                                         1
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       PLEASE TAKE FURTHER NOTICE that TMF and the Obligated Group Bond

Trustee have agreed to the Agreed Undeveloped Properties Sale Procedures attached hereto as

Exhibit A.

       PLEASE TAKE FURTHER NOTICE that the Liquidating Trustee has reviewed the

Agreed Undeveloped Properties Sale Procedures and has agreed to sell the Undeveloped

Properties in accordance with the Agreed Undeveloped Properties Sale Procedures and for the

compensation set forth therein.



Dated: March 19, 2015

DIAMOND McCARTHY LLP                            MINTZ, LEVIN, COHN, FERRIS AND
                                                POPEO, P.C.

By: /s/ Charles M. Rubio                        By: /s/ Charles W. Azano (w/p)
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                                            2
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                                      Exhibit A

                     Agreed Undeveloped Properties Sale Procedures
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                       SEARS MEHODIST RETIREMENT SYSTEM, INC.

               AGREED UNDEVELOPED PROPERTIES SALE PROCEDURES

        These Agreed Undeveloped Properties Sale Procedures (the “Sale Procedures”) set forth
the process by which the Liquidating Trustee (as defined in the Findings of Fact, Conclusions of
Law, and Order Confirming Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy
Code (the “Confirmation Order”)1/ [Docket No. 800]), will conduct the sale process and auction
of (i) certain undeveloped land owned by Sears Methodist Foundation in Waco, Texas (the
“Waco Property”) and (ii) certain undeveloped land owned by Sears Methodist Centers, Inc. in
Abilene, Texas (the “Abilene Property”; and together with the Waco Property, the “Undeveloped
Properties”).

I.       Claims Secured by Undeveloped Properties

        Texas Methodist Foundation (“TMF”) has an allowed secured claim (the “TMF Allowed
Claim”) against the Debtors that is secured by a first lien and mortgage interest against the
Undeveloped Properties. The TMF Allowed Claim is in the amount of $1,890,898.17, as of
February 28, 2015, which consists of $1,703,949.94 in principal, $90,731.10 in interest and
$96,217.132/ in reasonable attorney’s fees and costs through February 28, 2015. The TMF
Allowed Claim shall continue to accrue interest at the non-default rate of 5% per annum3/ plus
reasonable fees, costs and charges through and including the date the TMF Allowed Claim is
satisfied in full. TMF waives any claim to default interest. For any fees, costs and charges
incurred after February 28, 2015, TMF shall provide Obligated Group Bond Trustee (defined
below) written notice of such amounts and the Obligated Group Bond Trustee shall have 14 days
after receipt to file any objections to allowance of such additional fees, costs and charges.4/ Any
fees, costs and charges not objected to within such period shall become part of the TMF Allowed
Claim.

       Wells Fargo Bank, N.A., as Trustee (the “Obligated Group Bond Trustee”) has an
allowed secured claim (the “Obligated Group Bond Trustee Allowed Claim”) that is secured by a
second lien and mortgage interest against the Undeveloped Properties. The Obligated Group
Bond Trustee Allowed Claim is in the amount of $95,858,814, which amount incudes (i) unpaid
principal and (ii) accrued but unpaid interest as of the Petition Date. The Obligated Group Bond
Trustee Allowed Claim shall continue to accrue interest and reasonable fees, costs and charges
through and including the date the Obligated Group Bond Trustee Allowed Claim is satisfied in
full.


1/
         Capitalized terms not otherwise defined herein shall have the meaning given to them in the Confirmation
Order.
2/
        TMF has provided documentation of its fees and expenses through February 28, 2015 in the amount of
$96,217.13, which amount shall be included in the TMF Allowed Claim.
3/
        Interest is calculated as simple interest on the principal amount of $1,703,949.94 without compounding.
4/
        Each of the parties reserves the right to bring any such objections before the Bankruptcy Court for
determination.



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       Until entry of an order approving the transfer or other disposition of the Undeveloped
Properties, the Undeveloped Properties shall remain property of their respective Debtors’ estates
and the Undeveloped Properties will remain subject to the existing Liens and interests of TMF
and the Obligated Group Bond Trustee with the same validity, priority, force and effect such
Liens and interests had as of the Petition Date.

II.    Due Diligence

      Any prospective purchasers desiring to obtain more information about the Waco Property
may do so by contacting the following (together, the “Waco Broker”):

       Jon W. Spelman Commercial Real Estate
       Attn: Jon W. Spelman, CCIM
       6600 Sanger Ave., Suite 4
       Waco, TX 76710
       Phone: 254-776-2592
       Fax: 254-776-2447
       Email: jspelman@jspelman.com

       - and –

       Brad Harrell, CCIM
       Broker/Owner
       Harrell &Associates
       Office: 254-870-0050
       Email: brad@bradharrellccim.com

       Any prospective purchasers desiring to obtain more information about the Abilene
Property may do so by contacting the following (the “Abilene Broker”):

       Senter, Realtors
       Attn: Tom Niblo, CCIM
       3401 Curry Ln
       Abilene, Texas 79606
       325-695-8000
       325-695-8884 fax
       325-668-5749 cell
       Email: tniblo@senterrealtors.com

III.   Terms and Conditions of the Sales and Bidding Procedures

       The sale of each of the Undeveloped Properties is subject to competitive bidding as set
forth herein and approval of the sale pursuant to section 363 of the United States Bankruptcy
Code and Rule 6004 of the Federal Rules of Bankruptcy Procedure (the “Sales”), as authorized
by the Confirmation Order.




                                               2
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        The sale of each of the Undeveloped Properties will be on an “as is, where is” basis and
without surviving representations or warranties of any kind, nature, or description, except as may
be set forth in the orders approving such sale.

        All right, title, and interest in and to the Undeveloped Properties will be sold free and
clear of all pledges, liens, security interests, encumbrances, claims, charges, options, and
interests including, but not limited to any recoupment, offset, defenses, debts and obligations
thereon and there against (collectively, the “Claims and Interests”); provided however, any sale
or transfer of the Undeveloped Properties that does not result in payment of the outstanding ad
valorem property taxes associated with such property shall be subject to the Liens that secure all
amounts ultimately owed in connection with such taxes.

        Notwithstanding anything else in these Sale Procedures, TMF and the Obligated Group
Bond Trustee may agree to amend these Sale Procedures or adopt such other rules for the
bidding process. Any such amendment shall require the consent of both TMF and the Obligated
Group Bond Trustee, which each party may elect to provide in their absolute and sole discretion,
but shall not require the approval or consent of any other party or approval from the Bankruptcy
Court. In each instance, such rules, waivers or modifications shall be announced to all bidders
on a timely basis.

IV.     Distribution of Proceeds

       Unless otherwise ordered by the Bankruptcy Court, the cash proceeds from the sales of
the Abilene Property shall be distributed as follows:

        (i)      first, an amount equal to three percent of the successful bid for the Abilene
                 Property (the “Abilene Broker Commission”) to the Abilene Broker as the sales
                 commission;5/
        (ii)     second, to TMF to the extent of the TMF Allowed Claim,
        (iii)    third, to the Liquidating Trustee6 on account of amounts owed to Life Care
                 Services LLC (“LCS”) as a result of TMF’s draw upon a certain bank letter of
                 credit, and
        (iv)     fourth, to the Obligated Group Bond Trustee.

In the event that TMF is the successful bidder of the Abilene Property with a credit bid, then
TMF will have no obligation to satisfy the Abilene Broker Commission.

      Unless otherwise ordered by the Bankruptcy Court, the cash proceeds from the sales of
the Waco Property shall be distributed as follows:



5/
         It is anticipated that the Liquidating Trustee will enter into listing agreement with each of the Abilene
Broker and the Waco Broker providing for payment of the Abilene Broker Commission and the Waco Broker
Commission, as applicable. In each instance, such agreements shall be subject to the approval of each of TMF and
the Obligated Group Bond Trustee.
6/
        Such amounts shall be paid to the Liquidating Trustee subject to further order of the Bankruptcy Court.


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       (i)     first, an amount equal to three percent of the successful bid for the Waco Property
               (the “Waco Broker Commission”) to the Waco Broker as the sales commission
               (for avoidance of doubt, the two brokers designated as the Waco Broker are only
               entitled to one fee that they will share pursuant to a separate agreement);
       (ii)    second, to TMF to the extent of the remaining TMF Allowed Claim, and
       (iii)   third, to the Obligated Group Bond Trustee.

In the event that TMF is the successful bidder of the Waco Property with a credit bid, then TMF
will have no obligation to satisfy the Waco Broker Commission.

V.     Selection of Stalking Horse Bidder

        At any time, TMF and the Obligated Group Bond Trustee may agree to select a bidder (or
bidders) to be the stalking horse bidder (each a “Stalking Horse Bidder”) for either or both of the
Abilene Property and the Waco Property and negotiate the terms of the stalking horse bid and the
bid protections with each such Stalking Horse Bidder. Any such selection and negotiation shall
require the consent of both TMF and the Obligated Group Bond Trustee, which each party may
elect to provide in their absolute and sole discretion, but shall not require the approval or consent
of any other party or approval from the Bankruptcy Court.

        To the extent a bidder is selected as a Stalking Horse Bidder for either (or both) of the
Abilene Property or the Waco Property, such bidder shall be automatically deemed a Qualified
Bidder.

VI.    Qualified Bids and Qualified Bidders

       In order to participate in the bidding process for either the Abilene Property or the Waco
Property, each person or entity wishing to participate in the bidding process must submit by the
Bid Deadline the following (a “Bid Package”):

               a.      A deposit in the amount of $100,000.00 (the “Earnest Money Deposit”)
                       for each of the Abilene Property and the Waco Property, as applicable,
                       made by cashier’s check or by wire transfer of immediately available
                       funds to the Liquidating Trustee. Wire transfer instructions may be
                       obtained from the Abilene Broker or the Waco Broker;
               b.      A signed statement of the bidder (a) acknowledging and representing that
                       the purchase is not subject to any financing contingency, any contingency
                       relating to the completion of unperformed due diligence, any contingency
                       relating to the approval of the bidder’s board of directors or other similar
                       internal approvals or consents, any contingency relating to a material
                       adverse change, or any other condition precedent to the bidder’s obligation
                       to close; (b) acknowledging and representing that if becoming the
                       Prevailing Bidder (defined below) or the Back-Up Bidder (defined below),
                       such bidder can consummate the purchase of the of Abilene Property or
                       the Waco Property, as applicable, within 14 days of the approval of the
                       sale by the Bankruptcy Court; (c) acknowledging and representing that it


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                       is bound by these Sale Procedures; (d) acknowledging and representing
                       that it had an opportunity to inspect and examine the Abilene Property
                       and/or Waco Property, as applicable, before submitting such bid and that
                       each such bid is based solely on that review and upon each bidder’s own
                       investigation and inspection; (e) that it has consented to the core
                       jurisdiction of the Bankruptcy Court and waived any right to a jury trial in
                       connection with any disputes relating to the Sale Procedures and/or
                       Auction and the construction and enforcement of any transaction
                       documents relating to the bid; and (f) in making its bid, such bidder is not
                       relying upon any written or oral statements, representations or warranties
                       of the Liquidating Trustee, TMF, the Obligated Group Bond Trustee, the
                       Abilene Broker, the Waco Broker, or their respective agents; and
               c.      The amount of the initial bid and a bank account statement or other
                       records that show the source of funds for the purchase of Abilene Property
                       or the Waco Property, as applicable.
A bid satisfying the foregoing requirements is defined herein as a “Qualified Bid” and the bidder
is defined herein as a “Qualified Bidder”.

VII.    Bid Deadline

        All Bid Packages (except for the Ernest Money Deposit) must be provided to the
following parties: (i) Texas Methodist Foundation, c/o Charles Rubio, Diamond McCarthy LLP,
909 Fannin Street, 15th Floor, Two Houston Center, Houston, TX 77010; (ii) Daniel S. Bleck,
Mintz, Levin, Cohn, Ferris, Glovsky & Popeo, PC, One Financial Center, Boston, MA 02111;
and (iii) the Abilene Broker and/or the Waco Broker, as applicable, so as to be received not later
than 5:00 p.m. (CST) on July 17, 2015 with respect to the Abilene Property and September 17,
2015 with respect to the Waco Property (each, a “Bid Deadline”).

       The Earnest Money Deposit for each bidder must be made so as to be received by the
Liquidating Trustee not later than the Bid Deadline.

VIII.   Auction

        If more than one Qualified Bid is received for a particular property (i.e. either the Abilene
Property or the Waco Property), the Liquidating Trustee shall conduct an auction for the sale of
each of the Abilene Property and the Waco Property (each, an “Auction”). The Auction for the
sale of the Abilene Property shall begin at 10:00 a.m. (CST) on July 31, 2015, at the offices of
Diamond McCarthy LLP at Tower at Cityplace, 2711 N. Haskell Ave., Suite 3100, Dallas, Texas
75204 (“Diamond McCarthy Dallas Office”). The Auction for the sale of the Waco Property
shall begin at 10:00 a.m. (CST) on September 30, 2015, at Diamond McCarthy Dallas Office.

        Participation at the Auction shall be in person only. Only Qualified Bidders, the Brokers,
the Liquidating Trustee, TMF and the Obligated Group Bond Trustee, and each of their
respective representatives and advisors may attend the Auction. Participation by telephone or
other electronic means will be prohibited.


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        The Auction shall proceed by permitting the Qualified Bidders to make successive bids,
each of which must be at least $25,000 higher than the previous bid. The Auction shall continue
until there is only one offer that is the highest offer from among the bids submitted by Qualified
Bidders at the Auction. Such bid shall be termed the “Prevailing Bid”. Bidding at the Auction
will be transcribed or videotaped.

        At the same time the Prevailing Bid is designated, TMF and the Obligated Group Bond
Trustee may designate a bid submitted by a Qualified Bidder as a back-up bid for each property
(each, a “Back-Up Bid”) to protect against the Prevailing Bid not being consummated.

         TMF and/or the Obligated Group Bond Trustee may submit a credit bid for the purchase
of either the Abilene Property or the Waco Property (or both) pursuant to these Sale Procedures.
If the Obligated Group Bond Trustee submits a credit bid, it must also make a cash bid sufficient
to satisfy the remaining TMF Allowed Claim in full in cash at the closing of the sale of the
property. Each of TMF and the Obligated Group Bond Trustee shall be considered a Qualified
Bidder notwithstanding the requirements set forth in these Sale Procedures for other third-
parties.

IX.    Hearing Regarding Successful Bid

        If only one Qualified Bid is received by the Bid Deadline for a particular property (i.e.
either the Abilene Property or the Waco Property), the Liquidating Trustee shall present such bid
to TMF and the Obligated Bond Group Trustee and provide both parties three (3) business days
to make a higher cash and/or credit bid. If both parties decline to make a higher bid, then the
Liquidating Trustee shall present the one Qualified Bid to the Bankruptcy Court as the successful
bid for the corresponding property no later than fourteen (14) days after the Bid Deadline.

        If more than one Qualified Bid is received for a particular property (i.e. either the Abilene
Property or the Waco Property), the Liquidating Trustee shall present the Prevailing Bid for the
Abilene Property and the Waco Property to the Bankruptcy Court as the successful bid for the
corresponding property no later than five (5) business days after the respective Auctions in order
to obtain an order approving such sale (each, a “Sale Order”). The Sale Order for each the
Abilene Property and the Waco Property shall be in the form attached hereto as Exhibit A. No
offers or bids will be accepted or considered at any hearing related to such presentation.

        Upon the failure to consummate the closing of the transaction contemplated by the
Prevailing Bid because of the occurrence of a breach or default under the terms of the Prevailing
Bid, the Back-Up Bid(s), as disclosed at the Sale Hearing, shall be deemed the successful bid
without further order of the Bankruptcy Court and the parties shall be authorized and directed to
consummate the transaction contemplated by the bidders of the Back-Up Bids.

X.     Earnest Money Deposit and Refund

        Each Earnest Money Deposit shall be held in escrow by the Liquidating Trustee until
three (3) business days after the closing of the Auction; provided, however, the Earnest Money



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 Deposit paid by the bidder submitting the Prevailing Bid and the Back-Up Bid shall continue to
 be held in escrow by the Liquidating Trustee for three (3) business days after the date the Sale
 Order for the Abilene Property or the Waco Property, as applicable, has become a final order. If
 the Prevailing Bidder defaults on its obligation to close, then the Earnest Money Deposit
 submitted by such Prevailing Bidder, together with any accrued interest, shall be deemed
 forfeited and shall be distributed pursuant to Section IV hereof.

XI.     Closing of the Sales

         Except as otherwise agreed by the Prevailing Bidder, TMF and the Obligated Group
 Bond Trustee, the closing for the sale of the Abilene Property and the Waco Property shall take
 place at a place mutually agreed upon by such parties approximately fourteen (14) days after
 entry of the Sale Order.

 XII.   Fees and Expenses of the Liquidating Trustee

         The Liquidating Trustee shall be compensated for conducting the Auction and the other
 actions contemplated by these Sale Procedures by a single payment in the amount of $25,000
 from the Obligated Group Bond Trustee. Other than such $25,000 payment, the Obligated
 Group Bond Trustee shall have no obligation of any kind to pay the Liquidating Trustee for the
 actions contemplated by these Sale Procedures, nor shall the Liquidating Trustee be entitled to
 any of the proceeds from the sale of the Undeveloped Properties.




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                                      Exhibit A
                                 Form of Sale Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                  §         CASE NO. 14-32821-11
                                                         §
 SEARS METHODIST RETIREMENT                              §         CHAPTER 11
 SYSTEM, INC., et al.1                                   §         
                                                         §         Jointly Administered
                           Debtors.                      §

              ORDER CONFIRMING SALE OF [ABILENE/WACO] PROPERTY

          Pursuant to that certain Agreed Undeveloped Properties Sale Procedures (the “Sale

 Procedures”) 2 between Texas Methodist Foundation (“TMF”) and Wells Fargo Bank, N.A., as

 Trustee (the “Obligated Group Bond Trustee”), TMF and the Obligated Group Bond Trustee

 seek entry of an order authorizing and approving the sale (the “Sale”) of all of [Sears Methodist
 1
          The debtors in these Chapter 11 Cases, along with the last four (4) digits of their taxpayer identification
          numbers, are: Sears Methodist Retirement System, Inc. (6330), Canyons Senior Living, L.P. (8545),
          Odessa Methodist Housing, Inc. (9569), Sears Brazos Retirement Corporation (8053), Sears Caprock
          Retirement Corporation (9581), Sears Methodist Centers, Inc. (4917), Sears Methodist Foundation (2545),
          Sears Panhandle Retirement Corporation (3233), Sears Permian Retirement Corporation (7608), Sears
          Plains Retirement Corporation (8233), Sears Tyler Methodist Retirement Corporation (0571) and Senior
          Dimensions, Inc. (4016). The mailing address of each of the debtors, solely for purposes of notices and
          communications, is 2100 Ross Avenue, 21st Floor, c/o Paul Rundell, Dallas, Texas 75201.
 2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
          Sale Procedures.
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 Centers, Inc.’s/Sears Methodist Foundation’s] (the “Debtors”) rights and interests in the

 [Waco/Abilene] Property (the “Property”), in accordance with the Sale Procedures as provided

 for in Findings of Fact, Conclusions of Law, and Order Confirming Plan of Reorganization

 Pursuant to Chapter 11 of the Bankruptcy Code (the “Confirmation Order”) [Docket No. 800]

 entered by the United States Bankruptcy Court for the Northern District of Texas, Dallas

 Division (the “Bankruptcy Court”), and after due deliberation of the relief set forth herein; and

 finding that good and sufficient notice of the relief granted by this Order has been given and no

 further notice is required; and good and sufficient cause appearing to approve the relief herein,

 including for the reasons stated on the record at the hearing seeking approval of the Sale, the

 Bankruptcy Court hereby FINDS, DETERMINES, CONCLUDES, and ORDERS that:

        1.      The bid submitted by [Purchaser] (the “Purchaser”) constitutes the highest and

  best offer for the Property. Other parties have had a reasonable opportunity to make a higher or

  otherwise better offer to purchase the Property.

        2.      Pursuant to Sections 105(a) and 363 of the Bankruptcy Code, the Liquidating

  Trustee (the “Authorized Representative”), on behalf of the Debtor, is authorized to transfer the

  Property to the Purchaser pursuant to a deed substantially in the form attached hereto as

  Exhibit A.    The transfer of the Property to the Purchaser pursuant to the terms hereof shall

  constitute a legal, valid, binding, and effective transfer of the Property.

        3.      Upon the closing of the Sale, pursuant to Section 363(f) of the Bankruptcy Code,

  the Purchaser shall take title to and possession of the Property free and clear of any and all liens,

  claims, interests, and encumbrances, except for the outstanding ad valorem property taxes

  associated with the Property is subject to the liens that secure all amounts owed in connection

  with such taxes.
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        4.      Upon the closing of the Sale, the proceeds of the Sale shall be distributed as

  follows [in accordance with the Sale Procedures].

        5.      The Purchaser is purchasing the Property in good faith and is a good faith buyer

  within the meaning of Section 363(m) of the Bankruptcy Code. The Purchaser proceeded in

  good faith in connection with all aspects of the Sale. Accordingly, the Purchaser is entitled to

  all of the protections afforded under Section 363(m) of the Bankruptcy Code.

        6.      All persons and entities are enjoined from taking any actions against Purchaser or

  any affiliate of the Purchaser to recover any claim that such person or entity has solely against

  the Debtor, save and except for taxing authorities holding outstanding ad valorem property taxes

  associated with the Property.

        7.      The Authorized Representative is hereby authorized to take any and all actions

  necessary to consummate the transactions contemplated by this Order.

        8.      Notwithstanding any provision in the Bankruptcy Rules to the contrary, the terms

  of this Order shall be immediately effective and enforceable upon its entry, notwithstanding the

  possible applicability of Bankruptcy Rule 6004(h) or otherwise.

        9.      This Court retains jurisdiction with respect to all matters arising from or related to

  the implementation of this Order.
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                               Exhibit A to Sale Order

                                        Deed
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 NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
 YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING
 INFORMATION FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN
 REAL PROPERTY BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS:
 YOUR SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

                                  SPECIAL WARRANTY DEED


 STATE OF TEXAS                         §
                                        §               KNOW ALL MEN BY THESE PRESENTS:
 COUNTY OF _______                      §

         [SEARS METHODIST CENTERS, INC./SEARS METHODIST FOUNDATION]
 (“Grantor”), a Plan Debtor in the bankruptcy case styled as In re Sears Methodist Retirement
 System, Inc. et al., in the United States Bankruptcy Court for the Northern District of Texas,
 Case No. 14-32821 (the “Bankruptcy Case”), for and in consideration of the sum of $10 and
 other good and valuable consideration, the receipt and sufficiency of which are hereby
 acknowledged, has GRANTED, BARGAINED, SOLD, and CONVEYED and by these presents
 does GRANT, BARGAIN, SELL, AND CONVEY unto [Purchaser] (“Grantee”), that certain
 land in [Taylor/ McLennan] County, Texas, fully described in Exhibit A hereto, together with all
 improvements, if any, thereon and all rights appurtenances appertaining thereto (collectively, the
 “Property”) pursuant to that certain Order Confirming Sale of [Abilene/Waco] Property [Dkt.
 No. XXX] (as attached hereto as Exhibit B, the “Bankruptcy Order”).

         This Special Warranty Deed and the conveyance hereinabove set forth is executed by
 Grantor and accepted by Grantee subject to all matters of record to the extent the same are
 validly existing and applicable to the Property and not otherwise extinguished by the Bankruptcy
 Order, all subject and pursuant to the Bankruptcy Order (collectively, the “Permitted
 Encumbrances”).

         TO HAVE AND TO HOLD the Property, subject to the Permitted Exceptions as
 aforesaid, unto Grantee, and Grantee’s successors and assigns, forever; and Grantor does hereby
 bind Grantor, and Grantor’s successors and assigns, to WARRANT and FOREVER DEFEND,
 all and singular, the Property, subject to the Permitted Exceptions unto Grantee, and Grantee’s
 successors and assigns, against every person whomsoever lawfully claiming or to claim the same
 or any part thereof by, through or under Grantor, but not otherwise.

         Except as specifically stated herein, Grantor hereby specifically disclaims any warranty,
 guaranty, or representation, oral or written, past, present or future, of, as, to, or concerning (i) the
 nature and condition of the Property, including but not by way of limitation, the water, soil,
 geology and the suitability thereof, and of the Property, for any and all activities and uses which
 Grantee may elect to conduct thereon or any improvements Grantee may elect to construct
 thereon, income to be derived therefrom or expenses to be incurred with respect thereto, or any
 obligations or any other matter or thing relating to or affecting the same; (ii) the manner of
 construction and condition and state of repair or lack of repair of any improvements located
 thereon; (iii) except for any warranties contained herein, the nature and extent of any easement,
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 right-of-way, lease, possession, lien, encumbrance, license, reservation, condition or otherwise;
 and (iv) the compliance of the Property or the operation of the Property with any laws, rules,
 ordinances, or regulations of any government or other body. THE CONVEYANCE OF THE
 PROPERTY AS PROVIDED FOR HEREIN IS MADE ON AN “AS IS” BASIS, AND
 GRANTEE ACKNOWLEDGES THAT, IN CONSIDERATION OF THE AGREEMENTS OF
 GRANTOR HEREIN, EXCEPT AS OTHERWISE SPECIFIED HEREIN, GRANTOR MAKES
 NO WARRANTY OR REPRESENTATION, EXPRESS OR IMPLIED, OR ARISING BY
 OPERATION OF LAW, INCLUDING, BUT IN NO WAY LIMITED TO, ANY WARRANTY
 OF CONDITION, HABITABILITY, MERCHANTABILITY, OR FITNESS FOR A
 PARTICULAR PURPOSE OF THE PROPERTY.

        Grantee, by its acceptance hereof, does hereby assume and agree to pay any and all
 outstanding ad valorem taxes pertaining to the Property.


                                     [signature page follows]




                                             3
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       EXECUTED as of _________ __, 2015.



                                          [SEARS METHODIST CENTERS, INC./
                                          SEARS METHODIST FOUNDATION]


                                          By:
                                          Name:
                                          Title: Liquidating Trustee



 STATE OF                   §
                            §
 COUNTY OF                  §


       This instrument was acknowledged before me on this ___ day of February, 2015, by
 ________, the authorized representative of [Sears Methodist Centers, Inc./Sears Methodist
 Foundation], on behalf of said corporation.



                                          __________________________________________
                                           Notary Public, State of __________
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                                       Exhibit A

                                Property Description

                             [Insert applicable description]




                                __________________
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                                     Exhibit B

                                 Bankruptcy Order
